Case 16-31237 Document 14 Filed in TXSB on 03/16/16 Page 1 of 15

Fill in this information to identify your case:

Debtor1 Scott

Midd|e Name

Roqers
Lan NamE

Larrv
First Name

Debtor 2
(Spcuse, if filing) First Neme

 

Middle Name Lest Name

United States Bankruptcy Court for the: SOUTHERN DlSTR|CT OF TEXAS

Case number
(if known)

 

|:| Check it this is an
amended filing

 

 

Ol"ficial Form 106E/F

Schedule EIF: Creditcrs Who Have Unsecured Claims 12115

 

Be as complete and accurate as possible. Use Part 1 for creditors with PR[ORITY claims and Fart 2 for creditors with NONPR|OR|TY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts

on Schedule AfB: Property (Ofticial Form 106A!B) and on Schedu.le G: Executory Contracts and Unexpr'red Leases (Of'ficial Form 1066).
Do not include any creditors with partiai|y secured claims that are listed in Schedule D: Credr'tors Who Hoid Ciaims Secured by Property.
if more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page

to this page. t‘Jn the top of any additional pages, write your name and case number (if known).

Llst A|l of Your PRIOR|TY Unsecured Claims
1. Do any creditors have priority unsecured claims against you?
|:| No. Go to Part 2.

E[ Yes.

2. List all of your priority unsecured claims. lt a creditor has more than one priority unsecured claiml list the creditor separately for each
claim. For each claim listed. identity what type of claim it is. lf a claim has both priority and nonpriority amountsl tist that claim here and
show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditors name. if
more space is needed for priority unsecured claims, till out the Continuation F'age of F’art 1. if more than one creditor holds a particular
claimr list the other creditors in Fart 3.

 

(For an explanation of each type of claim, see the instructions for this form in the instruction bookie

  

 

 

 

2.1 $3,677.42

internal Revenue Service . .
Pr.mrity Credilor.s~ame Last4diglts of account number _ _ __ _

Deparfment fo Treasury when was the debt incurred?
Number Street

$3,677.42

 

 

 

As of the date you file, the claim is: Check all that apply.

 

 

Contingent
Unliquidated
Memphis TN 381|]1-0069 ~
city state zlP code E mspqu
Who incurred the debt? Check one. Type of PRIOR]TV unsecured claim:

Debtor 1 only
Debtor 2 only
n Debtor 1 and Debtor 2 only
|z[ At least one of the debtors and another
|z[ Check ifthis claim is for a community debt
ls the claim subject to offset?
No

n \’es

Officiaf Form 106EIF

Schedule EIF: Creditors Who Have Unsecured C|aims

Domestic support obligations

Taxes and certain other debts you owe the government
Claims for death or personal injury while you were
intoxicated

m ther. Specify

page t

Case 16-31237 Document 14 Filed in TXSB on 03/16/16 Page 2 of 15

 

 

Debtor 1 Larry Scott Rogers Case number (if known)
Firsl Name Midd]e Name Last Name

m List Al| of ¥our NONPR|OR|TY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?
m No. You have nothing to report in this part. Submit this form to the court with you other schedulesl

M Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
lf a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed. identify what
type of claim it is. Do not list claims already included in Part 1. lf more than one creditor holds a particular claim, list the other creditors in
Part 3. lf more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

 

4.1

 

 

 

1&1 lnternet, inc.
Nonpriority Creditors Name

701 Lee Road, Suite 300
Number Street

 

 

 

Chesterbrook PA 19087
City Statc ZlP Code
Who incurred the debt? Check one.

Debtor1 only
Debtor 2 only
Debtor1 and Debtor 2 only
|:| At least one of the debtors and another

|:| Check if this claim is for a community debt
ls the claim subject to offset?

m No
m Yes

4.2

A&S Estate
Nonpriority Creditor's Name

2115 G|enn Lakes Lane

 

 

 

 

 

 

 

 

Number Street
ilr'lissouri City ?X 77459
City State ZlP Code

Who incurred the debt? Check one_
Debtor 1 only
Debtor 2 only
Debtor 1 and Debtor 2 only

|:| At least one of the debtors and another

m Check if this claim is for a community debt

ls the claim subject to offset?
No

n Yes

Otficial Form 106EIF

Schedule ElF: Creditors Who Have Unsecured Claims

 

$107.88

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that appiy.
m Contingent

|:| Untiquidated

m Disputed

Type of NONPR|OR|TY unsecured claim:
Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
I:| Deth to pension or profit-sharing plans, and other similar debts
M Other. Specify
Tracte

$27,060.32
Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that appiy.
|:| Contingent

|:1 Unliquidated

\'_'| Disputed

Type of NON PR|OR|TY unsecured claim:
Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
m Debts to pension or profit-sharing plans, and other similar debts
121 Other. Specify
Trade

page 2

Case 16-31237 Document 14 Filed in TXSB on 03/16/16 Page 3 of 15

Debtor1 Larry Scott Rogers Case number {if known)
First Name Middle Name Last Name

 

 

mold NONPR|OR|TY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

 

` 4.3

 

 

 

American Express
Nonpriority Creditors Name
P.O. Box 297879
Nurnber Street

 

 

Ft. Lauderdale FL 33329-7879
city state zlP code

Who incurred the debt? Check one.
Debtor1 only
Debtor 2 only
Debtor 1 and Debtor 2 only

` |:1 At least one of the debtors and another

g Check if this claim is for a community debt

ls the claim subject to offset?
No
|:| Yes

4.4

 

 

 

 

Bethel Enterprises
Nonpriority Creditors Name
3005 Pasadena Freeway
Number Street

 

 

Pasadena TX 77503

 

City slate zlP Code
_ Who incurred the debt? Check one.
Debtor1 only
Debtor 2 only
Debtor 1 and Debtor 2 only
|:| At least one of the debtors and another

|:| Check if this claim is for a community debt

ls the claim subject to ottset?
No

n Yes

4.5

Captia| One Bank
Nonpriority Creditors Name
PO Box 30281

 

 

 

 

Last 4 digits of account number

 

Number Slreet

 

 

Salt Lake City UT 84130
City State ZlP Code

Who incurred the debt? Check one.
Debtor 1 only
Debtor 2 only
Debtor1 and Debtor 2 only

M At least one of the debtors and another

M Check if this claim is for a community debt
ls the claim subject to oftset?

M No -
|:| Yes

Otficial Form 106EIF

Schedu|e EiF: Creditors Who Have Unsecured Claims

 

$420.00

Last 4 digits of account number 1_ _0_ i _1_
When was the debt incurred?

As of the date you file, the claim is: Check all that appiy.
|:| Contingent

n Unliquidated

m Disputed

Type of NONPR|ORiTY unsecured claim:
Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plansl and other similar debts
Other. Specify
Credit Card

$1,610.48
Last 4 digits of account number L 1 _1_ 1
When was the debt incurred?
As of the date you filer the claim is: Check all that appiy.
'|:| Contingent
m Unliquidated
\:| Disputed

Type of NONPR|OR|TY unsecured claim:
Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
M Other_ Specify
Trade

$1,337.00

When was the debt incurred?

As ot' the date you file, the claim is: Check all that appiy.
|:[ Contingent

m Unliquidated

|:| Disputed

Type of NONPRlOR|TY unsecured claim:
Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Deth to pension or profit-sharing plansl and other similar debts
Other. Specity
Credit Card

page 3

Debtor 1 Larl'y

Fi'rst Name Nliddte Name

Case 16-31237 Document 14 Filed in TXSB on 03/16/16 Page 4 of 15
Scott

Rogers
Last Name

Case number (if known)

 

Your NONPR|OR|T¥ Unsecurec| Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

 

 

 

 

 

 

 

 

 

4.6
Citi Wide llllerchant Advances
Nonpriority Creditoi’s Name
188 Park Ave, Suite B
Number Street
Amityvitle NY 11701-2755
city state ziP code
Who incurred the debt? Check one.

g Debtor1 only

n Debtor 2 only

|:| Debtor 1 and Debtor2 only

|:| At least one of the debtors and another

|Z Check ifthis claim is for a community debt
ls the claim subject to offset?

M No

|:| Yes

4.7

 

 

 

 

Consolidated Communications

 

 

 

 

 

Nonpriority Creditors Name

P.O. Box 1568

Number Street

Conroe TX 77305-1568
city state ziP code
Who incurred the debt? Check one.

Debtor 1 only
Debtor 2 only
Debtor1 and Debtor 2 only
m At least one of the debtors and another

n Check if this claim is for a community debt
ls the claim subject to offset?

|z[ No
|:| Yes

4.8

Credit Dne Bank
Nonpriority Creditor's Name
PO Box 98872
Number Street

 

 

 

 

 

 

Las Vegas NV 89193
city state ercotie

Who incurred the debt? Check one.
g Debtor1 only
|:| Debtor2 only
Debtor1 and Debtor 2 only
|Z[ At least one of the debtors and another

M Check it this claim is for a community debt

ls the claim subject to offset?
|__7_1 No
|:| Yes

Officl`al Form 106EIF

Schedu|e ElF: Creditors Who l-iave Unsecured Claims

 

w

Last 4 digits of account number __6_ _7_ _3_ _2_
When was the debt incurred?
As of the date you file, the claim is: Check all that appiy.
|___| Contingent
|:| Unliquidated
|:| Disputed
Type of NONPR|DRtTY unsecured claim:
m Student loans
m Obligations arising out of a separation agreement or divorce

that you did not report as priority claims
m Deth to pension or profit-sharing pians, and other similar debts
E'[ Other. Specify

Trade

$65.71

Last 4 digits of account number _ _ ___
When was the debt incurred?
As ofthe date you flie, the claim is: Check all that appiy.
|:[ Contingent
m Unliquidated
m Disputed
Type of NONPRIOR|TY unsecured ciairn:
|:| Student loans

Obligations arising out of a separation agreement or divorce

that you did not report as priority claims

Debts to pension or profit-sharing plans, and other similar debts
12 Other. Specify

Trade

367.00

Last 4 digits of account number
When was the debt incurred?

As ofthe date you file, the claim is: Check all that appiy.

|:| Contingent
m Uniiquidated

[:| Disputed

Type of NONPRIOR|TY unsecured claim:
jj Student loans
|:| Ob|igations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
|z[ Other. Specify
Credit Card

page 4

Case 16-31237 Document 14 Filed in TXSB on 03/16/16

Scott
Mlddle Name

Debtor 1 Larry

First Name

Page 5 of 15

Rogers
Last Name

Case number (if known)

Your NONPR|OR|TY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

 

 

 

 

 

 

 

 

 

4.9
Dl'lL
Nonprlority Creditors Name
16592 Collections Center Drive
Number Street
Chicago lL 60693
City State ZlP Code
Who incurred the debt? Check one.

|:| Debtor 1 only
Debtor 2 only
Debtor 1 and Debtor 2 only
. |z[ At least one of the debtors and another

jz[ Check ifthis claim is fora community debt

is the claim subject to offset?
No
I:| Yes

4.10

DSRM National Bank
Nonprioriiy creditors Name
P.O. Box 300

Number Streef

 

 

 

 

 

 

Amari|lo TX 79105-0300
City Slate ZlP Code

Who incurred the debt? Check one_
Debtor1 only
Debtor 2 only
Debtor1 and Debtor 2 only

g At least one of the debtors and another

|:| Check if this claim is for a community debt
ls the claim subject to offset?

 

 

 

 

 

 

 

 

 

No

m Yes

4.11
First Savings Credit Card
Nonpriori['y Creditor's Name
PO Box 2509
Number Streel
Omaha NE 68103-2509
City State ZlP Code
Who incurred the deht? Check one.

f_“j Debtor1 only
Debtor 2 only
Debtor1 and Debtor 2 only
E'[ At least one of the debtors and another
g Check if this claim is fora community debt
ls the claim subject to offset?
m No
g Yes

Ofiicial Form 106EIF

Schedule El'F: Creditors Who Have Unsecured Claims

 

$42.50
Last4 digits of account number i i i l
When was the debt incurred?
As of the date you file, the claim is: Check all that app|y.
n Contingent
|_'_“| Unliquidated
|:| Disputed
Type of NONPR|OR|TY unsecured claim:
|:| Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
E'[ Other. Specify
Trade
$131.68
Last 4 digits of account number l L 1 __§__
When was the debt incurred?
As of the date you file, the claim is: Check all that appiy.
I:l Contingent
|:| Uniiquldated
|:| Disputed
Type of NONPR|OR|TY unsecured claim:
Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
M Other. Specify
Fee Simple

Last4 digits of account number

When was the debt incurred'?

As of' the date you fi|e, the claim is: Check all that appiy.

n Contingent
l:| Unliquidated

|:| Disputed

Type of NONPR|OR|TY unsecured claim:
|:| Student loans
|:| Ob|igations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plansl and other similar debts
|z[ Other. Specify
Credit Card

page 5

 

Case 16-31237 Document 14 Filed in TXSB on 03/16/16 Page 6 of 15
Debtor1 Larry Scott Rogers Case number {if known)
First Name Middle Name Last Name

Your NONPR|OR|T¥ Unsecured Claims -- Continuation Page

 

After listing any entries on this page, numberthem sequentially from the

previous page.

 

4.12
Greater Networks, LLC

 

 

 

 

Nonpriorlty Creditor‘s Name
cio Zachary 0 Young

 

Number Slreet

2007 N. Phillips Road

 

 

Nixa NIO 65714
City Slate ZlP Code
Who incurred the debt? Check one.

Debtor 1 oniy
Debtor 2 oniy
Debtor 1 and Debtor2 only
|z[ At least one of the debtors and another
m Check if this claim is for a community debt

ls the claim subject to offset?

 

 

 

 

 

 

 

 

 

M No
|:| Yes

4.13
Hashmukhlai D. and Tinahen H. Pate|
Nonpriorlty Creditor's Name
102 lllieadow Run Drive
Number Street
Conroe TX 77384
City Stare er Code
Who incurred the debt? Check one.

Debtor1 oniy
Debtor 2 only
|:| Debtor 1 and Debtor2 only
m At least one of the debtors and another

E'[ Check if this claim is for a community debt

ls the claim subject to offset?
M No
jj Yes

Residential Lease

 

4_14
lOU Central

 

 

 

 

Nonpriority Creditoi‘s Name
600 Town Park Laner Suite 100

Number Street

 

 

Kennesaw GA 30144

 

City Siate ZlP Code
Who incurred the debt? Check one.
Debtor1 only
Debtor 2 only
Debtor1 and Debtor2 only
g At least one of the debtors and another

M Check if this claim is for a community debt
ls the claim subject to offset?

M NO
m Yes

Ol"ficia[ Form 106EIF

Schedule ElF: Creditors Who Have Unsecured Claims

 

$22,579.00

Last 4 digits of account number l i 1 _4_
When was the debt incurred?
As of the date you fi|e, the claim is: Check all that appiy.

n Contingent
l:| Unliquidated

m Disputed

Type of NONPR|OR|TY unsecured claim:
Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
n Deth to pension or profit-sharing plans, and other similar debts
M Other. Specify
Trade

$3,040.00
Last 4 digits of account number __
When was the debt incurred?
As of the date you file, the claim is: Check all that appiy.

|:| Contingent
|:[ Unliquidated

|_7_[ Disputed

Type of NONFRIOR|TY unsecured claim:
jj Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
M Other. Specify
Contractll_ease

$28,872.89
Last 4 digits of account number
When was the debt incurred?

As of the date you file, the claim is: Check all that appiy.

|:| Contingent
m Unliquidated

|:| Disputed

Type of NONPRIOR|TY unsecured claim:
Student loans
|:| Ob|igations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
|Z Other. Specify
Loan

page 6

 

Case 16-31237 Document 14 Filed in TXSB on 03/16/16 Page 7 of 15
Debtor1 Larry Scott Rogers Case number (if known)
First Name Mlddle Name Last Name

¥our NONPR|OR|TY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

 

4.15
Karmidable, LLC

 

 

 

 

Nonpriorlty Creditor‘s Name
2451 S. 600 W #500

 

N l.lm b€l` Slreet

 

 

 

South Salt Lake UT 84115
City State ZlP Code
Who incurred the debt? Check one.

m Debtor 1 only
Debtor 2 only
Debtor 1 and Debtor 2 only
M At least one of the debtors and another
|:| Check if this claim is for a community debt
_ls the claim subject to offset?
E[ No
|:| Yes

4.16

 

 

 

 

Larkland Mor|ey

 

Nonpriorlty Creditor's Name
3561 Homestead Roadl No. 353
Number Street

 

 

 

Santa C|ara CA 95051
City State ZlP Code
Who incurred the debt? Check one.

Debtor1 only
Debtor 2 only
Debtor 1 and Debtor 2 only
E[ At least one of the debtors and another
|z[ Check if this claim is for a community debt

ls the claim subject to offset?
No

n Yes
4.17

 

 

 

 

lll‘|eritcard Solutions

 

 

 

 

 

Nonpriorlty Creditors Name

311 S. Cesar Chavez Blvd

Number Slreet

Dallas TX 75201
City State ZlP Code
Who incurred the debt? Check one_

|:| Debtor1 only
|:| Debtor2 only
Debtor 1 and Debtor2 only
E[ At least one of the debtors and another
M Check if this claim ls for a community debt
ls the claim subject to offset?
|Z[ No
m Yes

Official Form 106EIF

Schedule ElF: Creditors Who Have Unsecured Claims

 

$31,521.14

Last 4 dlglts of account number
When was the debt incurred?

As of the date you file, the claim is: Check all that appiy.
m Contingent

|:l Unliquidated

g Disputed

Type of NONPR!OR|TY unsecured claim:
|:| Student loans
Ob|igations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plansl and other similar debts
M Other. Specify
Trade

$2,554.56
Last 4 digits of account number

When was the debt incurred?

As of the date you ti|e, the claim is: Check all that app|y.
|:| Contingent

|:| Unliquidated

|:| Disputed

Type of NONPR|OR|TY unsecured claim:
Student loans
Ob[igations arising out of a separation agreement or divorce
that you did not report as priority claims
l:| Debts to pension or profit-sharing plans, and other similar debts
M Other. Specify
Trade

$10,440.43
Last 4 digits of account number

When was the debt incurred'?

As of the date you file, the claim is: Check atl that appiy.
m Contingent

m Unliquidated

g Disputed

Type of NONPRlOR|TY unsecured claim:
m Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
[Z Other. Specify
Trade

page 7

Case 16-31237 Document 14 Flled in TXSB on 03/16/16 Page 8 of 15

Scott
Middle Name

Debtor 1 Lal'ry

First Name

Rogers
Last Name

Case number (if known)

 

 

Your NONPR|OR|TY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

 

4.18

 

 

 

Midland Credit Management, |Nc.
Nonpriorlty Creditors Name

2365 Northside Drive, Suite 300
Number Streel

 

 

 

San Diego CA 92108
City Slaie Z|P Code
Who incurred the debt? Check one.

Debtor 1 only
Debtor 2 only
Debtor 1 and Debtor 2 only
g At least one of the debtors and another
m Check if this claim is for a community debt

ls the claim subject to offset?
No
|:| Yes

4.19

 

 

 

 

One Main Financial
Nonpriorlty Creditors Name

1302 Davis

Number Street

Town Center Northl Suite E

 

Conroe TX 77305

 

City Slate ZlP Code
Who incurred the debt? Check ona.
Debtor 1 only
Debtor 2 only
Debtor1 and Debtor 2 only
|:| At least one of the debtors and another

|:| Check if this claim is fora community debt
ls the claim subject to offset?

 

 

 

 

 

 

 

 

 

M No
|:| Yes
4.20
Orion Payment Systems
Nonpriorlty Creditor's Name
14340 Torrey Chase Blvd. #170
Number Street
Houston TX 77014
City State ZlP Code
Who incurred the debt? Check one.

Debtor 1 only
Debtor 2 only
Debtor 1 and Debtor2 only
g At least one of the debtors and another

m Check if this claim is for a community debt

ls the claim subject to offset?
No

[:| Yes

Oflicial Form 106EIF

Schedule ElF: Creditors Who Have Unsecured Claims

 

$1,058.73

Last 4 digits of account number L l _2_ __5_
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
|:l Contingent

|:| Unliquidated

l:| Disputed

Type of NONPRlOR|TY unsecured claim:
Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
|zl Other. Specify
Collecting for -

$609.60
Last 4 digits of account number

When was the debt incurred?

As of the date you fl|e, the claim is: Check all that appiy.
l:| Contingent

m Unliquidated

m Disputed

Type of NONPR[OR|TY unsecured claim:
Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
M Other. Specify
Trade

$10,191.09
Last4 digitsofaccount number iii__$_

When was the debt incurred?

As of the date you fiie, the claim is: Check all that appiy.
[:| Contingent

ij Unliquidated

|:| Disputed

Type of NONPRlORITY unsecured claim:
Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
g Other. Specify
Trade

page 8

Case 16-31237 Document 14 Flled in TXSB on 03/16/16

Debtor 1 Larry Scott
First Name Mrddle Name

RDgers Case number (if known)
Last Name

Mur NONPR|ORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

 

4.21

 

 

 

Person investment Group, LLC
Nonpriority Creditor‘s Name

c!o Branch Bank & Trust Co.
Number Street

1401 llllorg_a_nton Road

 

' Fayeffevlile NC 28305
City State ZlP Code

Who incurred the debt? Check one.
Debtor 1 only

|:| Debtor 2 only

m Debtor 1 and Debtor 2 only

|:| At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?
E[ No
m Yes

4.22

RR Donnelley Logistics Services Wor|dwid
Nonpriority Creditor’s Name

35 W. Wacker Drive
Number Street

 

 

 

 

 

 

chic§go rr_ seem
City State ZlP Code

Who incurred the debt? Check one.
Debtor 1 only
Debtor 2 only
Debtor 1 and Debtor 2 only

l:| At least one of the debtors and another

E[ Check if this claim is for a community debt
is the claim subject to offset?

 

 

 

 

 

 

 

 

 

E[ No
|:| Yes
4.23
Ryan Stenn
Nonpriority Creditor*s Name
PO Box 184
Number Street
New A|maden CA 95042
City State ZlP Code

Who incurred the debt? Check one_
Debtor1 only

|:| Debtor 2 only

|:l Debtor1 and Debtor 2 only

M .At least one of the debtors and another

Last 4 digits of account number l 1 l L
When was the debt incurred?

As of the date you file, the claim is: Check all that appiy.
j:| Contingent

g Unliquidated

|:| Disputed

Type of NONPR|OR|TY unsecured claim:
Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
M Other. Specify
Trade

Last 4 digits of account number ___6____ ”;i_ _4__ _i_
When was the debt incurred?

As of the date you fl|e, the claim ls: Check all that appiy.
M Contingent

m Unliquidated

|:| Disputed

Type of NONPR|OR|TY unsecured claim:
Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
n Debts to pension or profit-sharing plans, and other similar debts
E'[ Other. Specify
Guaranty

Last 4 digits of account number

When was the debt incurred?

As of the date you filer the claim is: Check all that appiy.
|:[ Contingent

|:[ Unliquidated

|:[ Disputed

Type cf NONPR|OR|TY unsecured claim:
Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
M Other. Specify

M Check if this claim is for a community debt Trade

ls the claim subject to offset?

M No

|:| Yes

Official Form 106E!F Schedule ElF: Creditors Who Have Unsecured Claims

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$1,500.00

$4.587.00

$5,246.61

page 9

Case 16-31237 Document 14 Flled in TXSB on 03/16/16

Scott
Middle Name

Larry
First Name

Debtor 1

Page 10 of 15

Rogers
Last Name

Case number {ii known)

your NoNPRroR:T‘r unsecured claims -- continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

 

 

 

 

 

 

 

 

 

4.24
Sandra tllicCartney
Nonpriority Creditor‘s Name
19111 Artesian Way
Number Street
Humble TX 77346
City State ZlP Code

Who incurred the debt? Check one.
Debtor1 only

|:| Debtor2 only
Debtor 1 and Debtor 2 only

M At least one of the debtors and another

M Check if this claim is for a community debt
is the claim subject to offset?

|Z[ No
|:] Yes

4.25

 

 

 

 

Secretary of State of Texas

 

 

 

 

 

Nonpriority Creditor's Name

PO Box 12387

Number Street

Austin TX 78711-2887
City State ZlP Code
Who incurred the debt? Check one.

Debtor1 only
Debtor 2 only
Debtor 1 and Debtor 2 only
|:| At least one of the debtors and another
|'_'| Check ifthis claim is for a community debt

is the claim subject to offset?

 

 

 

 

 

 

 

 

 

No

n Yes

4.26
SST
Nonpriority Creditors Name
4315 Pickett Road
Number Slreet
PO Box 3999
St. Joseph lV|O 64503-0999
City State ZlP Code

Who incurred the debt? Check one.
Debtor 1 only

|:| Debtor 2 only

|:| Debtor1 and Debtor 2 only

|z[ At least one of the debtors and another

M Check if this claim is for a community debt
ls the claim subject to offset?

M No
|:| Yes

Official Form 106El'F

Scheduie ElF: Creditors Who Have Unsecured Claims

 

$5,000.00

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that app[y.

|:| Contingent
jj Unliquidated

m Disputed

Type of NONPR|ORITY unsecured claim:
Student loans
Ob|igations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
M Other. Specify
Trade

$38.00
Last 4 digits of account number 1 l _7_ __tl__
When was the debt incurred?

As of the date you file, the claim is: Check all that appiy.
|:| Contingent

m Unliquidated

m Disputed

Type of NONPR|OR|TY unsecured claim:
Student ioans
|:l Ob|igations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
|Z Other. Specify
Trade

$918.36
Last 4 digits of account number L 1 _7_ 1
When was the debt incurred?

As of the date you file, the claim is: Check all that appiy.
|:] Contingent

m Unliquidated

m Disputed

Type of NONPR|ORiTY unsecured claim:
Student loans
Ob|igations arising out of a separation agreement or divorce
that you did not report as priority claims
m Debts to pension or profit-sharing plans, and other similar debts
M Other. Specify
Trade

page 10

Case 16-31237 Document 14 Flled in TXSB on 03/16/16 Page 11 of 15

 

 

Debtor 1 Larry Scott Rogers Case number (if known)
First Name Middle Name Last Name

-Your NONPR|OR|TY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

 

4.27

 

 

 

State Farm

Nonpriority Creditors Name
PO Box 44110
Number Street

 

 

Jacksonviile FL 32231-4110
City State ZlP Code

Who incurred the debt? Check one.
Debtor 1 only
Debtor 2 only
Debtor1 and Debtor 2 oniy

|z[ At least one of the debtors and another

M Check if this claim is fora community debt
is the claim subject to offset?

M No
E Yes

4.28

 

 

 

 

Stripe.ccm
Nonpriority Creditor’s Name

 

 

 

 

Number Street
City State ZlP Code
Who incurred the debt? Check one.

Debtor 1 only
Debtor 2 only
Debtor 1 and Debtor2 only
m At least one of the debtors and another
M Check if this claim is for a community debt
is the claim subject to offset?
M No
|:| Yes

4.29

 

 

 

 

Towers Woodiand

 

 

 

 

 

Nonpr'iority Creditor’s Name

366 Filli 1488 Road

Number Street

The Wood|ancis TX 77384-4164
City State ZlP Code
Who incurred the debt? Check one.

Debtor 1 only
Debtor 2 only
Debtor 1 and Debtor2 only
g At least one of the debtors and another
M Check if this claim is for a community debt
is the claim subject to offset?
|z[ No
|:| Yes

Official Form 106EIF

Schedu|e ElF: Creditors Who Have Unsecured Claims

 

$968.90

l.ast 4 digits of account number l _7_ __2_ i
When was the debt incurred?

As ofthe date you file, the claim is: Check all that appiy.
]:| Contingent

m Unliquidated

m Disputed

Type of NONPRlOR|T¥ unsecured claim:
Student loans
Ob|igations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
|zj Other. Specify
insurance

$750.00
Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that appiy.
EI Contingent

M Unliquidated

m Disputed

Type of NONPR|OR|TY unsecured claim:
Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
M Other. Specify
Guaranty

$12,952.39
Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that appiy.
[:| Contingent

[:| Uniiquidated

m Disputed

Type of NONPR|OR|TY unsecured claim:
Student loans
Obiigations arising out of a separation agreement or divorce
that you did not report as priority claims
|:| Debts to pension or profit-sharing plans, and other similar debts
M Other. Specify
Arrearage

page 11

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Debtor1 Larry Scott Roggs Case number (if known)
First Name Middle Name Last Name

Your NONPR|OR|TY Unsecured Claims -- Continuation Page

After listing any entries on this pageJ number them sequentially from the

previous page.

 

 

 

 

 

 

 

 

 

4.30
True Accord dl'bl'a Fundbox
Nonpriority Creditor's Name
153 illlaiden Lane, 3rd Floor
Number Street
San Francisco CA 94108
City State ZlP Code
Who incurred the debt? Check one.

Debtor1 only
Debtor 2 only
Debtor1 and Debtor 2 only
|:| At least one of the debtors and another
E[ Check ifthis claim is for a community debt
is the claim subject to offset?
M No
m Yes

4.31

 

 

 

 

Tumi Hawkins
Nonpriority Creditors Name
90 West Drive

Number Slreet
Cambridge, CBZBNY

 

 

City State ZlP Code
Who incurred the debt? Check one.
Debtor1 only
Debtor 2 only
Debtor1 and Debtor 2 only
E|` At least one of the debtors and another

|z[ Check if this claim is for a community debt
ls the claim subject to offset?

M No
|:| Yes

4.32

 

 

 

 

Verizon

 

Nonpriority Creditor's Name
PO Box 4001

 

Number Street

 

 

Acworth GA 30101

 

City State ZlP Code
Who incurred the debt? Check one.
Debtor1 only
Debtor 2 only
Debtor1 and Debtor 2 only
M At least one of the debtors and another

E Check if this claim is for a community debt

is the claim subject to offset?
No

m Yes

Official Form 106EIF

Schedule ElF: Creditors Who Have Unsecured Claims

 

$3,623.99

Last 4 digits of account number l _9_ l l
When was the debt incurred?

As of the data you file, the claim is: Check ali that appiy.
n Contingent

Unliquidated
[:| Disputed

Type of NONPR|OR|TY unsecured claim:
Student loans
Ob|igations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
M Other. Specify
Trade

$1,610.48
Last 4 digits of account number

When was the debt incurred?

As of the date you fiie, the claim is: Check all that appiy.
|:l Contingent

|:\ Unliquidated

m Disputed

Type of NONPR|ORITY unsecured claim:
Student loans
Ob|igations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
g Other. Specify
Trade

$173.74
Last 4 digits of account number _D_ _Q__ l l

When was the debt incurred?

As of the date you file, the claim is: Check all that appiy.
|:| Contingent

m Unliquidated

|:| Disputed

Type of NONPR|OR|TY unsecured claim:
E[ Student loans
Ob|igations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
|;_7| Other. Specify
Cab|e

page 12

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Debtor1 Larry Scott ch§rs Case number (if known)
First Name Middle Name Last Name

Your NONPR|OR|TY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the
previous page.

 

4.33

 

 

 

Williams Holding Corporation Last 4 digits of account number

Nonpriority Creditors Name . 9
301 West Btoomingda|e Ave When was the debt lncurred.

 

Number Street As of the date you filel the claim is: Check ali that appiy.

|:| Contingent
|:] Unliquidated

|2[ Disputed

 

 

' Brandon FL 33511

City State Z'P Code Type of NONPR|OR|TY unsecured claim:
Who incurred the debt? Check one. Student loans

Debtor 1 only
Debtor 2 only
Debtor 1 and Debtor2 only
g At least one of the debtors and another

 

that you did not report as priority claims

|Z Other. Specify

` |:| Check if this claim is for a community debt Judgment
ls the claim subject to offset?
M No
n Yes
Offioiai Form 106E!F Scheduie EIF: Creditors Who Have Unsecured Claims

Page 13 of 15

 

$295,669.39

Ob|igations arising out of a separation agreement or divorce

Debts to pension or profit-sharing plans, and other similar debts

page 13

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Debtor 1 Larry Scott
First Name Middle Name

Rog_ers Case number (if known)
Last Name

 

List Others to Be Notified About a Debt That You A|ready Listed

5- Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
For examp|e, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
creditor in Parts 1 or 2, then list the collection agency here. Slmiiar|y, if you have more than one creditor for any of the
debts that you listed in Parts 1 or 2, list the additional creditors here. |f you do not have additional parties to be notified for
any debts in Parts 1 or 2. do not fill out or submit this page.

Brian P. Kopp

Name

Betras, Kopp & Harshman, LLC
Number Street

4820 W. Kennedy Blvd., Suite 450

 

Tampa FL 33609
City State ZlP Code

D. Chris VanCampen

Name

VanCampen Law Officel LLC
Number Street

 

 

 

852 Saphire Drive
Morgan UT 84050
city slate zlP code

Merchant Services
Name

PO Box 801 0
Number Street

 

 

 

Hagerstown MD 21741-6010
City State ZlP Code

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4_33 of (Check one): |:| Part 11 Creditors with Priority Unsecured Claims
M Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

On which entry in Part 1 or Part2 did you list the original creditor?

Line 4_15 of (Cheok one): g Part 1: Creditors with Priority Unsecured Claims
Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4_3 of (Check one): l:| Part1: Creditors with F'riority Unsecured Claims
M Part 2'. Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

Otficia| Form 106EIF Schedule ElF: Creditors Who Have Unsecured Claims page 14

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Debtor 1 Larry

Scott Rogers Case number {if known)

 

Fil’Sl Nai'l‘le

Middle Name Last Name

Add the Amounts for Each Type of Unsecured Claim

6- Totai the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
28 U.S.C. § 159. Add the amounts for each type of unsecured clalm.

Totai claims 6a.
from Part 1

6b.

Sc.

6d.

Se.

Totai claims Sf.
from Part 2

Sg.

tih.

6i.

cj_

Oiiicial Form 106E!F

Domestic support obligations
Taxes and certain other debts you owe the government
Claims for death or personal injury while you were intoxicated

Other. Add all other priority unsecured olaims. Write that amount here.

Tota|. Add lines 6a through Bd.

Student loans

Ob|igations arising out of a separation agreement or divorce
that you did not report as priority claims

Debts to pension or profit-sharing plans, and other similar
debts

Other. Add all other nonpriority unsecured claims. Write that amount here.

Total. Add lines 6f through 6i.

6a.

6b.

6c.

6d.

6d.

6f.

69.

Bh.

6'i.

ej.

Scheclu|e EIF: Creditors Who Have Unsecured Claims

Totai claim

$0.00

$3!677.42

$0.00

$0.00

 

 

$3,6?7.42

 

 

Totai claim

$0.0D

$0.00

$0.00

$531,322.04

 

 

$5311322.04

 

 

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